Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 1 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 2 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 3 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 4 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 5 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 6 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 7 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 8 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document    Page 9 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document   Page 10 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document   Page 11 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document   Page 12 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document   Page 13 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document   Page 14 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document   Page 15 of 16
Case 5:19-bk-01559-HWV   Doc 67 Filed 09/07/21 Entered 09/07/21 10:19:31   Desc
                         Main Document   Page 16 of 16
